



6-96-028-CV Long Trusts v. Dowd                                     













In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-03-00035-CV


______________________________





IN RE:  MICHAEL WHALEY








                                                                                                                                                             


Original Mandamus Proceeding







                                                                                                                                                             
                          



Before Morriss, C.J., Ross and Carter, JJ.

Memorandum Opinion by Chief Justice Morriss



MEMORANDUM   OPINION


	Michael Whaley has filed a petition for writ of mandamus in which he asks this Court to find
evidence as described in his petition insufficient to find him guilty in a disciplinary proceeding
conducted by  employees of the Texas Department of Criminal Justice-Institutional Division.  He
also complains his "counsel substitute" was not allowed to question witnesses.

	This Court has jurisdiction to issue a writ of mandamus against "a judge of a district or
county court in the court of appeals district."  Tex. Gov't Code Ann.  § 22.221(b) (Vernon Supp.
2003).  This petition for writ of mandamus is not directed at an individual over whom this Court has
jurisdiction to issue such a writ.  Without jurisdiction, we cannot act.

	We deny the petition for writ of mandamus.


							Josh R. Morriss, III

							Chief Justice


Date Submitted:	March 7, 2003

Date Decided:		March 10, 2003



.  According to geotechnical forensic engineer Homer R. Parker, the dirt removal created
unstable conditions which "represent[ed] a significant potential for slope failure in the form of a
landslide" that could occur on Braxton's property, "render[ing] it unsuitable for future development. 
Braxton sued Chen for trespass, negligence, and nuisance, and sought injunctive relief.  The trial
court issued a temporary injunction on September 10, 2009, commanding Chen to "desist and refrain
from removing or moving any of the soil located on [his] property."  In addition to appealing the
issuance of the temporary injunction on sufficiency grounds, Chen attacked the trial court's failure
to comply with Rule 683 of the Texas Rules of Civil Procedure, which directs courts to include a
trial setting and reasons for issuing injunctions.  While appeal from the first order was pending, the
trial court issued an amended order including the required trial setting and a finding that "the
continued removal of soil by the Defendant from his land could result in damage to Plaintiff's
property."  Because the only evidence presented to the court regarding the requirement to prove there
was no adequate remedy at law established Braxton could receive adequate compensation for slope
failure in the form of money damages, we find the trial court abused its discretion in issuing the
temporary injunction.  

I.	Jurisdiction 

	While only final decisions of trial courts are appealable generally, Section 51.014(a)(4) of
the Texas Civil Practice and Remedies Code permits an interlocutory appeal of a district court's
grant or denial of a temporary injunction.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 51.014(a)(4)
(Vernon 2008); Lehmann v. Har-Con Corp., 39 S.W.3d 191, 195 (Tex. 2001); Hinde v. Hinde, 701
S.W.2d 637, 639 (Tex. 1985).  We also have jurisdiction to consider further appealable interlocutory
orders concerning the same subject matter issued during the pendency of an appeal from such an
order.  Tex. R. App. P. 29.6(a)(1); Ahmed v. Shimi Ventures, L.P., 99 S.W.3d 682, 688-89 (Tex.
App.--Houston [1st Dist.] 2003, no pet.). 

	However, the trial court's authority to enter orders pending appeal is limited by Rule 29.5
of the Texas Rules of Appellate Procedure, which prohibits a trial court from making any order that
"interferes with or impairs the jurisdiction of the appellate court or effectiveness of any relief sought
or that may be granted on appeal." (1)  Tex. R. App. P. 29.5.  In this case, Chen asked this Court to
declare the first order void for failure to comply with Rule 683. (2)  Our sister courts have held where
an "amended order does nothing more than bring the temporary injunction into compliance with rule
683," it does not "preclude [an appellant] from challenging the validity of the injunction" or
"interfere with or impair this Court's jurisdiction over the merits."  Nexus Fuels, Inc. v. Hall,
No.&nbsp;05-98-02147-CV, 1999 WL 993929, at *2 (Tex. App.--Dallas Nov. 1, 1999, no pet.) (not
designated for publication).  In other words, the trial court's amended order does not "interfere with
or impair our jurisdiction or the effectiveness of the relief sought" "because the trial court gave
[Chen] all the relief he sought from us."  Tanguy v. Laux, 259 S.W.3d 851, 855 (Tex.
App.--Houston [1st Dist.] 2008, no pet.); see also Donaho v. Bennett, No. 01-08-00492-CV, 2008
WL 4965143, at *3 (Tex. App.--Houston [1st Dist.] Nov. 20, 2008, no pet.) (mem. op.) (amendment
to fill in trial setting did not interfere with relief sought because the two injunctions were
substantively the same and appellate challenges "remain[ed] alive"); Ahmed, 99 S.W.3d at 687,
689-90 (holding modified temporary injunction order's additional provision applicable to insurers,
bond reduction, and modification of compliance dates, did not adversely affect the relief which could
be granted by the court).  We conclude that the trial court had authority to enter the amended
temporary injunction correcting the Rule 683 deficiencies.  Therefore, we overrule Chen's points of
error complaining of statutory deficiencies contained in the superseded order as moot. 

	Rule 27.3 of the Texas Rules of Appellate Procedure states:

	After an order or judgment in a civil case has been appealed, if the trial court
modifies the order or judgment, or if the trial court vacates the order or judgment and
replaces it with another appealable order or judgment, the appellate court must treat
the appeal as from the subsequent order or judgment and may treat actions relating
to the appeal of the first order or judgment as relating to the appeal of the subsequent
order or judgment.

Tex. R. App. P. 27.3.

	Because the trial court had continuing authority to issue further orders under Rule 29.5, and
because Rule 27.3 requires this Court to treat the appeal from a subsequent order, we conclude that
the trial court had authority to enter the amended temporary injunction correcting the Rule 683
deficiencies, and further that we have the authority and duty to treat the appeal as being from the
subsequent order.  Therefore, we will address Chen's appeal on the merits attacking the sufficiency
of the evidence to support the temporary injunction's issuance.

II.	Standard of Review

	The decision to grant or deny a temporary injunction is within the sound discretion of the trial
court.  Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002) (citing Walling v. Metcalfe, 863
S.W.2d 56, 58 (Tex. 1993)); Moon v. Estate of Moon, 221 S.W.3d 327, 329 (Tex. App.--Texarkana
2007, no pet.).  We will not reverse an order granting injunctive relief absent an abuse of discretion. 
Moon, 221 S.W.3d at 331; Walling, 863 S.W.2d at 58.  The test for abuse of discretion is not
whether, in the opinion of the reviewing court, the facts present an appropriate case for the trial
court's action; rather, it is a question of whether the court acted without reference to any guiding
rules or principles.  Low v. Henry, 221 S.W.3d 609, 619-20 (Tex. 2007) (citing Downer v.
Aquamarine Operators, 701 S.W.2d 238, 241-42 (Tex. 1985)); Moon, 221 S.W.3d at 331.  

	We view the evidence in the light most favorable to the trial court's order, indulging every
reasonable inference in its favor, and determine whether the order was so arbitrary that it exceeds
the bounds of reasonable discretion.  Moon, 221 S.W.3d at 329; IAC, Ltd. v. Bell Helicopter Textron,
Inc., 160 S.W.3d 191, 196 (Tex. App.--Fort Worth 2005, no pet.).  Abuse of discretion occurs when
a trial court issues an injunction "when the evidence does not reasonably support the conclusion that
the applicant has a probable right of recovery."  Moon, 221 S.W.3d at 331.  A trial court does not
abuse its discretion as long as there is some evidence to support the trial court's decision.  IAC, Ltd.,
160 S.W.3d at 196.

III.	Analysis 

	A temporary injunction is an extraordinary remedy and does not issue as a matter of right. 
Butnaru, 84 S.W.3d at 204; Moon, 221 S.W.3d at 329.  To obtain a temporary injunction, Braxton
was required to plead and prove:  (1) a cause of action against Chen; (2) a probable right to the relief
sought; and (3) a probable, imminent, and irreparable injury in the interim.  Butnaru, 84 S.W.3d at
204.  An injury is irreparable if the injured party cannot be adequately compensated in damages or
if the damages cannot be measured by any certain pecuniary standard.  Id. (citing Canteen Corp. v.
Rep. of Tex. Props., Inc., 773 S.W.2d 398, 401 (Tex. App.--Dallas 1989, no writ)); Moon, 221
S.W.3d at 329.  An injunction will not issue when there is a plain and adequate remedy at law. 
McGlothlin v. Kliebert, 672 S.W.2d 231, 232 (Tex. 1984).

	Braxton's property contained a slope which extended down toward Chen's property.  As
Chen removed soil from the bottom of the slope, he created a "cut slope" that potentially affected
the stability of the remainder of the slope.  Parker conducted a slope stability analysis using core
samples from Braxton's property and concluded the slope was "a pretty unsafe slope."  The cut in
the slope allowed for groundwater from Braxton's property to seep out and affect slope stability. 
The slope factor was 1.5, and Parker testified that at this factor, "some slopes will fail."  However,
he admitted that he could make "no prediction of the timing" of when, if ever, the slope would
collapse.  Parker stated the slope could fail the next day or could take forty years to fail.  He testified,
"As you take more and more soil out, increase the steepness of the inclination, then the factor of
safety continues to drop."  He said slope failure could be remedied, but would be expensive.  The
cost could be mathematically ascertained and would comprise the cost of dirt to fill in the slope, a
possible retaining wall, and labor. 

	The trial court was within its discretion to find Braxton established a probable right to the
relief sought in its petition.  However, even if the trial court could exercise discretion to find slope
failure was imminent if Chen continued to dig, there was no evidence suggesting damage done to
the slope was irreparable.  In fact, Parker's testimony established that Braxton could be adequately
compensated with money damages covering the cost of slope repair.  Because there was an adequate
remedy at law available to Braxton, he was not entitled to the extraordinary remedy of a temporary
injunction.  Butnaru, 84 S.W.3d at 204; McGlothlin, 672 S.W.2d at 232; Moon, 221 S.W.3d at 329;
see also Watson v. Telecheck Servs., Inc., No. 06-08-00018-CV, 2008&nbsp;WL&nbsp;3850671, at *2 (Tex.
App.--Texarkana Aug. 20, 2008, no pet.); N. Cypress Med. Ctr. Operating Co. v. St. Laurent, 296
S.W.3d 171, 176-77 (Tex. App.--Houston [14th Dist.] 2009, no pets. (2)) (temporary injunction
should not issue where money damages can compensate plaintiff).

	Braxton has filed a claim for the costs incurred to rebuild a wall or replace soil needed as
well as other claims for damages.  There is evidence that those damages are capable of calculation
and there is no evidence the legal remedy would be ineffective or inadequate.  There is no showing
of an irreparable injury.  

IV.	Conclusion 

	We reverse the trial court's order issuing a temporary injunction in Braxton's favor, dissolve
the temporary injunction and remand for further proceedings in accordance with this opinion.  



						Jack Carter

						Justice


Date Submitted:	December 15, 2009

Date Decided:		January 13, 2010


1. Tex. R. App. P. 29.6(a)(2) grants this Court jurisdiction to review trial court orders that are
entered in violation of Tex. R. App. P. 29.5.  
2. Rule 683 of the Texas Rules of Civil Procedure states that "[e]very order granting a
temporary injunction shall include an order setting the cause for trial on the merits with respect to
the ultimate relief sought" and "shall set forth the reasons for its issuance."  Tex. R. Civ. P. 683;
InterFirst Bank San&nbsp;Felipe, N.A. v. Paz Constr. Co., 715 S.W.2d 640, 641 (Tex. 1986).  The
requirements of Rule 683 are mandatory and must be strictly followed.  Id.; see In re Office of the
Attorney Gen., 257 S.W.3d 695, 697 (Tex. 2008); Bay Fin. Sav. Bank, FSB v. Brown, 142 S.W.3d
586, 591 (Tex. App.--Texarkana 2004, no pet.).  The purpose of requiring a trial date is to protect
the parties so that a temporary injunction does not effectively become a permanent injunction in the
absence of a final determination by the trial court.  EOG Res., Inc. v. Gutierrez, 75 S.W.3d 50, 53
(Tex. App.--San Antonio 2002, no pet.).  When a temporary injunction order does not adhere to the
requirements of Rule 683, the injunction order is subject to being declared void and dissolved. 
InterFirst Bank San Felipe,715 S.W.2d at 641 (citing Northcutt v. Warren, 326 S.W.2d 10, 10 (Tex.
Civ. App.--Texarkana 1959, writ ref'd n.r.e.)).  

